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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:17CR00155 LJO-SKO
12                                Plaintiff,
13                 v.                                      STIPULATION REGARDING
                                                           CONTINUANCE AND
14   MARIO ALVAREZ-MUNIZ,                                  EXCLUDABLE TIME PERIODS
                                                           UNDER SPEEDY TRIAL ACT;
15                                Defendant.               FINDINGS AND ORDER
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18
                                               STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant, by
20
     and through his counsel of record, hereby stipulate as follows:
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22          1.      By previous order, this matter was set for a status conference on August 7, 2017, at 1

23 p.m.

24          2.      By this stipulation, the parties move to continue the matter to August 14, 2017, at
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     11:30 a.m., to be heard at the same time as the defendant’s appeal of his detention order.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      Counsel for the government has annual leave previously scheduled for August 7 and
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                                                       1
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     is unavailable on that date.
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            b.      Counsel for the government shall file its response to the defendant’s motion to revoke
 2

 3 his detention order on or before July 21, 2017. An optional reply shall be filed on or before July 31,

 4 2017.

 5          c.      Counsel for the parties believe that failure to grant the above-requested continuance is
 6
     necessary to ensure that the defendant is competent.
 7
            d.      Based on the above-stated findings, the ends of justice served by continuing the case
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     as requested outweigh the interest of the public and the defendant in a trial within the original date
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10 prescribed by the Speedy Trial Act.

11          e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

12 seq., within which trial must commence, the time period of August 7, 2017, to August 14, 2017,

13 inclusive, is deemed excludable, pursuant to 18 U.S.C.§§ 3161(h)(1)(D) and (7)(A), for the purpose

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     of resolving the defendant’s bail appeal and to ensure the continuity of counsel for the government.
15
     The parties further agree that the ends of justice served by excluding time to and through August 17
16
     outweigh the best interest of the public in a speedy trail
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18          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

19 the Speedy Trial Act dictate that additional time periods are excludable from the period
20 within which a trial must commence.

21
            IT IS SO STIPULATED.
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     DATED:         July 13, 2017.          Respectfully submitted,
23
                                            PHILLIP A. TALBERT
24                                          United States Attorney

25                                          /s/ Karen A. Escobar
                                            KAREN A. ESCOBAR
26                                          Assistant United States Attorney

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     DATED:     July 13, 2017.
 1
                                 /s/ Andy Miri
 2                               ANDY MIRI
                                 Counsel for Defendant Alvarez-Muniz
 3

 4                                     ORDER
 5 SO FOUND. GRANTED PURSUANT TO THE STIPULATION.

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     IT IS SO ORDERED.
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 8     Dated:   July 13, 2017                   /s/ Lawrence J. O’Neill _____
                                       UNITED STATES CHIEF DISTRICT JUDGE
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